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 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify that on March 13, 2017, I electronically filed the foregoing

 3   DECLARATION OF MICHAEL WHITE with the Clerk of the Court using the CM/ECF

 4   system, which will send notification of such filing to the following:

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     DECLARATION - 3
